AO 450 (Rev. 5/85) Judgment in a Civil Case ⊗




                       United States District Court
                                       EASTERN DISTRICT OF WISCONSIN


                                                           JUDGMENT IN A CIVIL CASE
            MOOSE MOSS PRESS, LLC,
                   Plaintiff

                         v.                                CASE NUMBER: 17-C-0123

            ENVISION PHARMACEUTICAL
            SERVICES, LLC d/b/a ENVISION RX,
                    Defendant




           Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

           Decision by Court. This action came to trial or hearing before the Court. The
            issues have been tried or heard and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that this action is dismissed without prejudice
for lack of subject matter jurisdiction.




            March 2, 2017                                  Jon W. Sanfilippo
Date                                                       Clerk

                                                           s/ D. Monroe
                                                           (By) Deputy Clerk




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